
722 S.E.2d 594 (2012)
STATE of North Carolina
v.
Lee Roy ELLISON
State of North Carolina
v.
James Edward Treadway.
No. 363PA11.
Supreme Court of North Carolina.
March 8, 2012.
Andrew DeSimone, Assistant Appellate Defender, for Ellison, Lee Roy.
Brandon Truman, Assistant Attorney General, for State of N.C.
Daniel F. Read, Durham, for Treadway, James Edward.
Robert Devane Croom, Assistant Attorney General, for State of N.C.
Tom Horner, District Attorney, for State of N.C.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant (Ellison) on the 23rd of August 2011 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th of March 2012."
Upon consideration of the petition filed on the 23rd of August 2011 by Defendant (Ellison) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th of March 2012."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
